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15
                               IN THE UNITED STATES DISTRICT COURT
16

17                        FOR THE NORTHERN DISTRICT OF CALIFORNIA

18                                       SAN FRANCISCO DIVISION

19 HULU LLC,                                    ) Case No. 3:17-cv-02942-JD
                                                )
20                         Plaintiff,           ) JOINT STIPULATION OF DISMISSAL
21                                              ) WITHOUT PREJUDICE
           v.                                   )
22                                              )
   ROVI CORPORATION, ROVI GUIDES,               )
23 INC. and TIVO CORPORATION,                   )
                                                )
24                         Defendants.          )
25                                              )
                                                )
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     JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE               CASE NO. 3:17-CV-02942-JD
               Case 3:17-cv-02942-JD Document 68 Filed 05/17/18 Page 2 of 3



 1         IT IS HEREBY STIPULATED AND AGREED, by and between Hulu LLC, Rovi

 2 Corporation, Rovi Guides, Inc., and TiVo Corporation (collectively, “the Parties”), by and through

 3 their respective undersigned counsel, that all claims in the above-captioned action are hereby

 4 dismissed without prejudice, with each Party to bear its own costs, expenses, and attorneys’ fees.

 5

 6                                                   Respectfully submitted,

 7 DATED: May 17, 2018                           By: /s/ Melody Drummond Hansen
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     JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE                          CASE NO. 3:17-CV-02942-JD
              Case 3:17-cv-02942-JD Document 68 Filed 05/17/18 Page 3 of 3



 1                                                    Respectfully submitted,

 2 DATED: May 17, 2018                            By: /s/ Lisa Kobialka
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                                                      TIVO CORPORATION
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12
                                         ATTESTATION CLAUSE
13

14         In accordance with Civil Local Rule 5-1(i)(3), I attest that concurrence in the filing of this

15 document has been obtained from any other signatory to this document.

16

17                                                        O’MELVENY & MYERS LLP

18                                                        By:    /s/ Melody Drummond Hansen
                                                                         Melody Drummond Hansen
19                                                        Attorneys for Plaintiff Hulu LLC

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     JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE                         CASE NO. 3:17-CV-02942-JD
